  Case: 3:21-cv-00344-MJN-SLO Doc #: 3 Filed: 01/03/22 Page: 1 of 1 PAGEID #: 42
                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION AT DAYTON


Cincinnati Insurance Company et al.
                                                :
                      Plaintiff(s)
                                                :
              vs                                    Case No. 3:21-cv-344
                                                :
                                                    Judge Michael J. Newman
Andy Rock F.A.S., LLC et al.                    :   Magistrate Judge Sharon L. Ovington

                    Defendant(s)
          _____________________________________________________________

                                     NOTICE TO COUNSEL

          _____________________________________________________________


        The above-captioned case has been received and filed in this Court. It has been given
the above-captioned case number and judge assignment. According to our records, Mark P.
Estrella, Richard E. Lerner, Wendy J. Lindstrom, Michael S. McDaniel, and Christopher J.
Merrick are not admitted to practice in the Southern District of Ohio. Please go to our website
at www.ohsd.uscourts.gov for a copy of our local rules regarding pro hac vice admission. Our
court is now using Electronic Case Filing. Please review the ELECTRONIC FILING Policies
and Procedures Manual found on our website.

       Pursuant to Southern District of Ohio Local Rule 83.4(e), unless otherwise ordered, in all
actions filed in, transferred to or removed to this Court, all parties, not appearing in propria
persona shall be represented by a trial attorney who is a permanent member of the bar of this
Court.

       Southern District of Ohio Local Rule 83.3 (e) permits your participation, on a case by
case basis, upon the filing of an application for admission pro hac vice with supporting
documents by the local counsel. A Two Hundred Dollars ($200.00) admission fee for each
attorney applying must accompany your motion. Should the application be denied, the fee will
be refunded.

      If this document is manually filed and you wish copies to be returned, a self-addressed
stamped envelope is required. Documents cannot be filed by fax.

       Mailing address: Clerks Office, 200 West Second Street, Room 712, Dayton, OH 45402.


                                                           By: B. Russell
                                                                  Deputy Clerk
Copy mailed to all Counsel
